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                            •   Jtj THE UNITED STATES DISTRICT COURT
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                                0 '' EASTERN DISTRICT OF ARKANSAS
                                         WESTERN DIVISION                    JAME                         ./VN1,.--.... K
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ARTHUR CARSON,PLAINTIFF

v                                               4:11-CV-733-DPM

ELNORA THOMPSON, ET AL



                                       MOTION FOR DISMISSAL




TO THE HONORABLE JUDGE OF SAID COURT:

 Comes Now the Plaintiff, Arthur Carson, and in accordance with Rule 41, Federal Rules of Civil
Procedures, Request this Court Dismiss the foregoing action pursuant to a settlement reached between
the Parties.
 Wherefore, Premises Considered, Plaintiff Pray that this Motion be all Things Granted.



Arthur Carson


                                       CERTIFICATE OF SERVICE


 I, Arthur Carson, state that a copy of the foregoing motion is hereby mailed to Defendants this, 4th
DAY of October, 2012, by placing same in the United States Mail, Postage Prepaid.
 I Swear the foregoing statements are true and correct.

 ~(~
Arthur Carson
8215 Spanish Rd
Little Rock, AR 72209
(501-565-0733)
